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                       UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF PENNSYLVANIA


JUSTIN DERR-CARNEY           :
          Plaintiff          :
                             :
      v.                     :                        NO. _________________
                             :
SONY CORPORATION OF AMERICA; :
SONY GROUP CORPORATION;      :
and VOOPOO                   :                        JURY TRIAL DEMANDED
          Defendants         :



                                     COMPLAINT – CIVIL ACTION

        Plaintiff, by his undersigned counsel, hereby brings claims against Defendants and

alleges as follows:

                                               PARTIES
        1.       Plaintiff Justin Derr-Carney is a citizen and resident of the Commonwealth of

Pennsylvania, residing therein at 112 Main Street, Wormelsdorf, PA 19567.

        2.       Defendant Sony Corporation of America (Sony America) is a corporation with its

headquarters at 550 Madison Avenue, New York, NY 10022.

        3.       Upon information and belief, Defendant Sony America at all times relevant was

authorized to do business in the Commonwealth of Pennsylvania and was and is engaged in

substantial comings and business activities in Pennsylvania.

        4.       Defendant Sony America was and is engaged in the business of manufacturing,

marketing, testing, promoting, selling, and/or distributing lithium-ion batteries, including the

battery that is the subject of this lawsuit.



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        5.       Defendant Sony Group Corporation (Sony Group) is a foreign corporation with its

headquarters at 1-7-1 Konan Minato-ku, Tokyo, 108-0075 Japan.

        6.       Upon information and belief, Defendant Sony Group at all times relevant was

authorized to do business in the Commonwealth of Pennsylvania and was and is engaged in

substantial comings and business activities in Pennsylvania.

        7.       Defendant Sony Group was and is engaged in the business of manufacturing,

marketing, testing, promoting, selling, and/or distributing lithium-ion batteries, including the

battery that is the subject of this lawsuit.

        8.       Defendant VOOPOO is a foreign corporation with its headquarters at No.168

Fusheng Rd, Xihu District, Nanchang, Jiangxi, Nanchang, Guangxi Zhuang.

        9.       Upon information and belief, Defendant VOOPOO at all times relevant was

authorized to do business in the Commonwealth of Pennsylvania and was and is engaged in

substantial comings and business activities in Pennsylvania.

        10.      Defendant VOOPOO was and is engaged in the business of manufacturing,

marketing, testing, promoting, selling, and/or distributing vape pens that contain lithium-ion

batteries, including the battery that is the subject of this lawsuit.

        11.      Upon information and belief, VOOPOO does not maintain any physical presence

in the United States. It has a network of wholly owned subsidiaries in and throughout the United

States that work together to sell various products nationwide.

        12.      The instant case involves the explosion of a lithium-ion battery and the subject

battery, and other similar/identical batteries, was advertised, marketed, sold, distributed, and

placed into the stream of commerce through the engagement of the Defendants and one or more




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distributors and/or retailers who sell and distribute Defendants’ products, including the subject

vape pen and battery and similar batteries to consumers.

                                      VENUE AND JURISDICTION

       13.     At all pertinent times, Defendants derived substantial revenue from the sale of

products in the Commonwealth of Pennsylvania.

       14.     At all pertinent times, Defendants sold products to consumers within this District.

       15.     Based on information and belief, Defendants advertise or otherwise promote their

business in Pennsylvania.

       16.     Based on information and belief, Defendants reasonably expect to be subject to

Pennsylvania product liability law.

                                      FACTUAL ALLEGATIONS

       17.     E-cigarettes are battery operated devices that deliver nicotine through flavoring

and other chemicals to users in the form of vapor instead of smoke.

       18.     E-cigarettes offer doses of nicotine with a vaporized solution.

       19.     Generally, electronic cigarettes operate the same way regardless of the model in

that they typically consist of at least three (3) component parts: a tank, a battery that works to

heat the juices or e-liquid contained in the tank, and an atomizer that converts the liquid into

vapor that the user inhales.

       20.     The e-cigarette is battery-operated and uses a heating element to produce vapor.

Thus, e-cigarettes pose an additional danger: the battery-powered heating element, as well as the

battery itself, can and have caused explosions, fires, and serious injury.

       21.     In 2017, the United States Fire Administration characterized the “combination of

an electronic cigarette and a lithium-ion battery” as a “new and unique hazard” because there is


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“no analogy among consumer products to the risk of a severe, acute injury presented by an

ecigarette.”

        22.     Defendants knew or should have known, at all pertinent times hereto, of the risks

of their product(s) exploding and causing injury to consumers.

                                               THE INJURY

        23.     Plaintiff Justin Derr-Carney purchased the Voopoo e-cigarette, which contained

no warnings, and component parts, including the subject battery, from a store in Pennsylvania.

The battery was manufactured by Sony, an N18650.

        24.     On October 15, 2019, Plaintiff, an EMT, was working in the back of an

ambulance.

        25.     Plaintiff had a spare battery for the vaping device in his right pants pocket, and

the vaping device itself in his left pants pocket.

        26.     Plaintiff put his keys in his right pants pocket, where the spare battery was

located.

        27.     The ambulance stopped at a red light when, all of a sudden, Plaintiff heard a

sizzling noise in his pocket.

        28.     The spare battery exploded in Plaintiff’s pants pocket.

        29.     Plaintiff’s pants caught on fire and the ambulance filled with smoke.

        30.     Plaintiff put out the flames with his own hand, burning his fingers in the process.

        31.     Plaintiff removed his pants to assess the injury.

        32.     Plaintiff was taken to Good Samaritan Hospital where a burn expert was called to

assess Plaintiff.

        33.     Plaintiff’s thigh wound was cleaned and he was sent home with Oxycodone.



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        34.     The following day Justin was seen at Lehigh Valley Burn Center to be treated by

specialists.

        35.     Lehigh Valley physicians removed his dressing and admitted him immediately.

        36.     Plaintiff underwent two surgeries, one to debride the area and one to undertake a

skin graft, wherein they used skin from the upper thigh.

        37.     Plaintiff was required to stay in bed for three days so the graft had its best chance

for working.

        38.     Plaintiff stayed in the hospital for over a week.

        39.     Plaintiff’s nerve endings were burned off, yet Plaintiff experienced phantom pain.

        40.     Plaintiff was given muscle relaxers and anxiety medication.

        41.     Plaintiff was subsequently treated for depression and anxiety relating to his

injuries.

        42.     Plaintiff’s thigh is still painful to the touch, and he must wear a compression band

so his wound area does not rub against his pants.

        43.     Plaintiff experiences pain any time the wound area strikes another object.

        44.     Plaintiff has been told he will require additional surgery on the wound area to

remedy residual neurologic damage.

        45.     Plaintiff routinely suffers from sensations of stinging, tingling, and numb pain.

        46.     As a result of the explosion, Plaintiff has permanent scars on his ear right thigh

that serve as a lifetime reminder of this painful incident.

        47.     As a result of the explosion, Plaintiff is left physically and emotionally scarred

from his burns.




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                                              COUNT ONE

                                  PLAINTIFF v. ALL DEFENDANTS

                    (Products Liability – Strict Liability— Manufacturing Defect)

          48.   Plaintiff incorporates the preceding paragraphs by reference as if fully stated

herein.

          49.   At all times pertinent herein, Defendants were engaged in the business of

manufacturing, fabricating, designing, assembling, distributing, selling, warranting, wholesaling,

supplying, and/or marketing lithium-ion batteries such as the subject battery throughout the

United States by means of interstate commerce.

          50.   Defendants defectively manufactured the subject battery and made it dangerous,

hazardous, and unsafe for its intended use.

          51.   Defendants placed the subject battery in the stream of commerce with the

knowledge that it would be used without inspecting for dangers or defects. Defendants knew, or

should have known, that ultimate users or consumers, such as Plaintiff, would not or could not

inspect these products for dangerous conditions, and that the detection of such defects and

dangers would be beyond the capabilities of such persons.

          52.   At the time of incident, the subject battery was substantially in the same condition

as it was when introduced into the stream of commerce by Defendants, and when used in a

reasonably foreseeable manner by Plaintiff.

          53.   As a direct and proximate cause of the manufacturing defect, Plaintiff suffered

severe injuries.

          54.   The above referenced conduct of Defendants, and each of them, was and is

willful, malicious, fraudulent, oppressive, outrageous, and in conscious disregard and



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indifference to the safety and health of purchasers, users and consumers of said products,

including Plaintiff. Plaintiff, for the sake of example, and by way of punishing Defendants, seeks

punitive damages according to proof.


          WHEREFORE, Plaintiff prays for judgement against Defendants, and each of them, for a

sum above the local arbitration limit as set forth herein.

                                                 COUNT II

                                   PLAINTIFF v. ALL DEFENDANTS

                          (Products Liability – Strict Liability—Design Defect)

          55.    Plaintiff incorporates the preceding paragraphs by reference as if fully stated

herein.

          56.    At all times mentioned herein, Defendants were engaged in the business of

manufacturing, fabricating, designing, assembling, distributing, selling, warranting, wholesaling,

supplying, and/or marketing lithium-ion batteries such as the subject battery throughout the

United States by means of interstate commerce.

          57.    Defendants placed the subject battery in the stream of commerce with the

knowledge that it would be used without inspecting for dangers or defects. Defendants knew, or

should have known, that ultimate users or consumers, such as Plaintiff, would not or could not

inspect these products for dangerous conditions, and that the detection of such defects and

dangers would be beyond the capabilities of such persons.

          58.    Defendants manufactured, fabricated, designed, assembled, distributed, and/or

sold the subject battery with defects in the design which made it dangerous, hazardous, and

unsafe for its intended use.



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        59.    The subject battery, when sold and distributed by Defendants, was defective and

unreasonably dangerous to ultimate users and consumer in, but not limited to, the following

ways:

        a. The subject battery failed to perform as safely as an ordinary consumer would expect

        when used in an intended or foreseeable manner;

        b. The subject battery was sold in an unsafe, unreasonably dangerous and defective

        condition such that the battery had an unreasonable propensity to overheat and catch fire

        during normal and foreseeable use;

        c. The subject battery was so in an unsafe and unreasonable dangerous and defective

        condition such that the batter had an unreasonably dangerous and defective condition

        such that the battery had an unreasonable propensity to short-circuit and explode during

        normal and foreseeable conditions;

        d. The subject battery was defective due to inadequate, or the absence of, warnings, or

        instructions to alert users regarding the hazardous conditions described herein and to

        provide instructions on safe use.

        60.    The risk of danger in the design of the subject battery outweighed any benefits of

the design. Safer, alternative designs were available at the time Defendants manufactured,

fabricated, designed, assembled, labeled, packaged, supplied, distributed, and/or sold the subject

battery.

        61.    At the time of incident, the subject battery was substantially in the same condition

as it was when introduced into the stream of commerce by Defendant, and when used in a

reasonably foreseeable manner by Plaintiff.




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          62.    The above-described defects in the subject battery were the proximate cause of

the Plaintiff’s injuries.

          63.    The above referenced conduct of Defendants, and each of them, was and is

willful, malicious, fraudulent, oppressive, outrageous, and in conscious disregard and

indifference to the safety and health of purchasers, users and consumers of said products,

including Plaintiff. Plaintiffs, for the sake of example, and by way of punishing Defendants, seek

punitive damages according to proof.

          WHEREFORE, Plaintiff prays for judgement against Defendants, and each of them, for a

          sum above the local arbitration limit as set forth herein.



                                                  COUNT III

                                     PLAINTIFF v. ALL DEFENDANTS

                            (Products Liability – Strict Liability – Failure to Warn)

          64.    Plaintiff incorporates the preceding paragraphs by reference as if fully stated

herein.

          65.    Defendants knew or should have known that the subject battery would be used in

the manner used by Plaintiff.

          66.    In researching, testing, designing, manufacturing, labeling, selling, distributing,

advertising, promoting, marketing, servicing, and/or supplying the subject battery, Defendants

knew, or should have known, that there was a high risk of injury or death resulting from the use

of the subject battery in a reasonably foreseeable and intended manner.




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       67.       Defendants were aware that ultimate users and consumers, such as Plaintiff, had

no knowledge or information indicating that the subject battery had a high risk of injury or death

when used in a reasonably foreseeable and intended manner.

       68.       Defendants knew that ultimate users and consumers of the subject battery would

and did assume that it was safe, and that such consumers, like Plaintiff, would not have

recognized the inherent risks, or had the ability and requisite knowledge to inspect the subject

battery for defects and dangers.

       69.       Defendants failed to warn consumers of the risks and dangers of the subject

battery in, but not limited to, the following ways:

       a. Defendants never warned Plaintiff hat that the subject battery had the propensity to

       overheat and explode during its foreseeable and expected use;

       b. Defendants never warned Plaintiff that the subject battery was not designed to be used

       with e-cigarettes or personal vaping devices;

       c. Defendants never warned Plaintiff that the subject battery lacked critical safety

       components that are regularly incorporated into other similar batteries.

       70.       Upon information and belief, the aforementioned conduct of Defendants was

motivated by Defendant’s financial interests. In pursuance of said financial motivation,

Defendants consciously disregard the safety of ultimate users and consumers, like Plaintiff, of

said products.

       71.       Defendant’s failure to warn Plaintiff of the above referenced known defects and

dangers of the subject battery was the proximate cause of Plaintiffs’ injuries and damages.

       72.       The above referenced conduct of Defendants, and each of them, was and is

willful, malicious, fraudulent, oppressive, outrageous, and in conscious disregard and



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indifference to the safety and health of purchasers, users and consumers of said products,

including Plaintiff.

          73.    Plaintiff, for the sake of example, and by way of punishing Defendants, seeks

punitive damages according to proof.


          WHEREFORE, Plaintiff prays for judgement against Defendants, and each of them, for a

sum above the local arbitration limit as set forth herein.




                                                 COUNT IV

                                   PLAINTIFF v. ALL DEFENDANTS

                                     (Products Liability – Negligence)

          74.    Plaintiff incorporates the preceding paragraphs by reference as if fully stated

herein.

          75.    Upon information and belief, and at all times herein mentioned, Defendants and

each of them, negligently, recklessly and carelessly manufactured, fabricated, designed,

assembled, distributed, sold, inspected, warranted, labeled, marketed and advertised the subject

battery that it was dangerous and unsafe for their intended and/or reasonably foreseeable use.

          76.    Defendants, and each of them, owed a duty to Plaintiff to exercise reasonable care

in the design, manufacture, inspection, distribution and/or sale of the subject battery to ensure

that the subject battery was safe for their intended and/or reasonably foreseeable use.

          77.    Defendants, and each of them, knew or in the exercise of due care should have

known that the subject battery would be used without inspection in an unreasonably dangerous

condition and would create a foreseeable risk of harm to users.



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       78.     Defendants, and each of them, were under a duty to properly and adequately

instruct, warn and/or sell the subject battery in a reasonably safe condition as not to present a

danger to members of the general public who reasonably and expectedly, under ordinary

circumstances, would come into contact with it, including Plaintiff.

       79.     Defendants, and each of them, failed to exercise the amount of care in the design,

manufacture, inspection, distribution, and sale of the subject battery that a reasonably careful

manufacturer, designer, supplier or seller would have used in similar circumstances to avoid

exposing others to a foreseeable risk of harm.

       80.     Defendants, and each of them, knew or reasonably should have known that the

subject battery was dangerous or was likely to be dangerous when used or misused in a

reasonably foreseeable manner. Defendants, and each of them, knew or reasonably should have

known that ordinary users, like Plaintiff, would not realize the hazards and risks posed by the

subject battery.

       81.     Upon information and belief, at the time of the incident, Plaintiff was not aware

that the subject battery presented any risk of injury to him or his family, and had not been

advised or informed by anyone that the subject battery could explode or otherwise posed a risk to

his health and safety.

       82.     Defendants, each of them failed to adequately warn purchasers, consumers, and

end users, including Plaintiff, about the severe hazards posed by the subject battery and/or

instructed on the safe use of such products. A reasonable manufacturer, distributor, designer,

supplier, or seller under the same or similar circumstances would have warned of the dangers

posed by the subject battery or instructed on the safe use of the subject battery.




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          83.    Defendants, and each of them, negligently provided incorrect and/or inadequate

recommendations, advice, and instruction to Plaintiff regarding the combination and

compatibility of the subject battery and its use.

          84.    Defendant’s negligence was the proximate case of Plaintiff’s injuries and

damages.


          WHEREFORE, Plaintiff prays for judgement against Defendants, and each of them, for a

sum above the local arbitration limit as set forth herein.




                                                  COUNT V

                                   PLAINTIFF v. ALL DEFENDANTS

                            (Breach of Implied Warranty of Merchantability)

          85.    Plaintiff incorporates the preceding paragraphs by reference as if fully stated

herein.

          86.    Because of the inherent design defects, the subject battery is not fit for the

ordinary purpose for which it is used.

          87.    Because the subject battery is not fit for the ordinary purpose for which it is used,

Defendants’ sale of the same breach the implied warranty of merchantability.

          88.    Any attempts by Defendants to disclaim the implied warranty of merchantability

were unconscionable because to the extent the disclaimers were made, they were made with full

knowledge of the inherently dangerous defect encumbering each battery.

          89.    Specifically, Defendants withheld information regarding the inherently dangerous

condition of the lithium-ion batteries, including the subject battery. The Defendants created a

one-sided condition herein they knew Plaintiff was presuming its decision to purchase the goods

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subject to flawed and incomplete information, resulting in unfair surprise to Plaintiff when he

eventually learned of the inherently dangerous nature of the batteries.

          90.    Plaintiff suffered personal injury as a result of Defendants’ breach.

          91.    But for Defendants’ breach of implied warranty of merchantability, Plaintiff

would not have suffered the damages articulated herein.

          92.    Defendant’s breach was the proximate cause of Plaintiffs’ injuries and damages.


          WHEREFORE, Plaintiff prays for judgement against Defendants, and each of them, for a

sum above the local arbitration limit as set forth herein.




                                                  COUNT VI

                                    PLAINTIFF v. ALL DEFENDANTS

                                   (Violation of the Magnuson-Moss Act)

          93.    Plaintiff incorporates the preceding paragraphs by reference as if fully stated

herein.

          94.    The subject batteries are “consumer products” as defined in 15 U.S.C. § 2301 (1).

          95.    Plaintiff is a “consumer” as defined in 15 U.S.C. § 2301(3).

          96.    The Defendants are “suppliers” and “warrantors” as defined in 15 U.S.C. § 2301

(4) and (5).

          97.    The defective battery’s implied warranties are covered under 15 U.S.C. §2301(7).

          98.    The Defendants breached implied warranties by:

          (a) designing, manufacturing, and selling to Plaintiff, defective and unsafe batteries;




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       (b) providing lithium-ion batteries that are not merchantable and not fit for their ordinary

       purpose of safely using an e-cigarette because the batteries present an unreasonable risk

       of thermal runaway and explosions; and

       (c) not incorporating safety measures to eliminate the identified defects.

       99.     At the time Defendants manufactured, sold, distributed, and/or placed the

batteries into the stream of commerce, Defendants knew or should have known that the batteries

had an inherently defective design that posed a unique risk of catching fire, thermal runaway,

and/or explosion.

       100.    Defendants breached their implied warranty of the merchantability by selling,

manufacturing, distributing, supplying, and/or placing into the stream of commerce the defective

battery and failing to replace the defective battery within a reasonable time and without charge.

       101.    The Defendants’ breach was the proximate cause of Plaintiff’s injuries and

damages.


       WHEREFORE, Plaintiff prays for judgement against Defendants, and each of them, for a

sum above the local arbitration limit as set forth herein.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,

individually, jointly and severally and requests compensatory damages, together with interest, cost

of suit, attorneys’ fees, and all such other relief as the Court deems just and proper as well as:

               a. Compensatory damages to Plaintiff for past, present, and future damages,

                    including, but not limited to, pain and suffering for severe and permanent

                    personal injuries sustained by Plaintiff, health and medical care costs, together

                    with interest and costs as provided by law;

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             b. Restitution and disgorgement of profits;

             c. Reasonable attorneys’ fees;

             d. The costs of these proceedings;

             e. All ascertainable economic damages;

             f. Punitive damages; and

             g. Such other and further relief as this Court deems just and proper.


                                                   Respectfully Submitted,


                                                   LOPEZ MCHUGH, LLP

                                                   _/s/_Michael S. Katz_______________
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                                                   Attorneys for Plaintiff



Dated: October 14, 2021




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